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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

   IN RE: AUTOMOTIVE PARTS                          Master File No. 12-md-02311
   ANTITRUST LITIGATION
                                                    Honorable Sean F. Cox
   ____________________________________
                                                     2:12-md-02311-SFC-RSW
   ALL PARTS                                         2:12-cv-00500-SFC-RSW
   ____________________________________              2:12-cv-00501-SFC-RSW
                                                     2:12-cv-00502-SFC-RSW
   THIS RELATES TO:                                  2:12-cv-00503-SFC-RSW
                                                     2:14-cv-12095-SFC-RSW
   ALL CASES




                           MOTION TO WITHDRAW AS COUNSEL

        The undersigned, Jeffrey J. Amato, an attorney at Winston & Strawn LLP (“Winston”),

 which firm represents Defendants NTN Corporation and NTN USA Corporation in the above-

 captioned matters, respectfully requests that the Court enter an order allowing James F. Lerner, an

 attorney who has departed from Winston, to withdraw as counsel for NTN Corporation and NTN

 USA Corporation. Other counsel of record will continue to appear as counsel on behalf of the

 above-named Defendants, and there will be no delay in the progress of the above-named actions

 as a result of this withdrawal.



 Dated: February 19, 2021                         Respectfully submitted,

                                                  WINSTON & STRAWN LLP


                                                  /s/ Jeffrey J. Amato
                                                  Jeffrey J. Amato
                                                  WINSTON & STRAWN LLP
                                                  200 Park Avenue
                                                  New York, NY 10166
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                                       Attorneys for Defendants NTN Corporation and
                                       NTN USA Corporation




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on February 19, 2021, I electronically filed the foregoing Motion to

 Withdraw as Counsel with the Clerk of the Court using the ECF system, which will send

 notification of such filing to all counsel of record.


                                                    /s/ Jeffrey J. Amato
                                                    Jeffrey J. Amato
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                                                    NTN USA Corporation
